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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  MCALLEN DIVISION

AMERICAN CIVIL RIGHTS UNION,                    §
in its individual and corporate capacities,     §
         Plaintiff,                             §
                                                §
       v.                                       §        Civil Action No. 7:16-CV-00103
                                                §
ELECTION ADMINISTRATOR                          §
JOHN RODRIGUEZ, in his official                 §
capacity; and TEXAS SECRETARY OF                §
STATE ROLANDO PABLOS, in his                    §
official capacity,                              §
        Defendants.                             §

    ORDER GRANTING DEFENDANT RODRIGUEZ’S MOTION FOR SUMMARY
                           JUDGMENT

       On this day, the Court considered Defendant Rodriguez’s Motion for Summary Judgement

(“Motion”). Following a review of Defendant’s Motion, Plaintiff’s response, and any reply thereto,

the Court is of the opinion that Defendant’s Motion is meritorious and should be GRANTED.

       IT IS THEREFORE ORDERED that Defendant Rodriguez’s Motion for Summary

Judgment is hereby GRANTED, and all claims against Defendant Rodriguez are hereby

DISMISSED WITH PREJUDICE.


        It is SO ORDERED this                 day of                               , 2018.




                                                _______________________________
                                                HON. RICARDO H. HINOJOSA
                                                UNITED STATES DISTRICT JUDGE




Order on Defendant Rodriguez’s Motion for Summary Judgement                                  Page 1
